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                                THE UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF TEXAS
                                        SHERMAN DIVISION

CLINT CLEMENTS AS ASSIGNEE OF                    §
VERDUN PROPERTIES, LLC,                          §
                                                 §
        Plaintiff,                               §
                                                 §
vs.                                              §      CIVIL ACTION NO. 4:16-cv-00710
                                                 §
NORTHFIELD INSURANCE                             §
COMPANY AND LAURIE MOORE,                        §
                                                 §
        Defendants.

                            DEFENDANTS’ NOTICE OF REMOVAL

        Defendants Northfield Insurance Company (“Northfield”) and Laurie Moore (“Moore”)

file this Notice of Removal under 28 U.S.C. § 1446(a) and state as follows:

                                      I.    INTRODUCTION
        1.      On July 19, 2016, Plaintiff Clint Clements as Assignee of Verdun Properties, LLC

(“Plaintiff”) filed its First Amended Original Petition in the 211th Judicial District Court of

Denton County, Texas. The state court action is styled Clint Clements as Assignee of Verdun

Properties, LLC v. Northfield Insurance Company and Laurie Moore; Cause No. 16-05228-211;

in the 211th Judicial District, Denton County, Texas.

        2.      Service of process was executed through the Texas Commissioner of Insurance on

August 15, 2016. Accordingly, this Notice of Removal is filed within the 30-day time period

required by 28 U.S.C. § 1446(b).

        3.      Venue is proper in this district under 28 U.S.C. § 1441(a) because the state court

where the action has been pending is located in this district.




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                                     II.      BASIS FOR REMOVAL
          4.     Removal of this action is proper under 28 U.S.C. § 1332(a) if there is complete

diversity of citizenship between the parties and the amount in controversy exceeds $75,000

(excluding interest, costs, and attorneys’ fees). These two requirements are satisfied in this

matter.

                 A.       Complete diversity of citizenship exists.

          5.     Plaintiff was at the time this lawsuit was filed, and at the date of this Notice

remains, a Texas resident for purposes of diversity jurisdiction. 1

          6.     Northfield was at the time this lawsuit was filed, and at the date of this Notice

remains, a foreign insurance company incorporated under the laws of Iowa with a principal place

of business in Connecticut. Thus, Northfield is a citizen of Iowa and Connecticut for purposes of

diversity jurisdiction.

          7.     Moore was at the time this lawsuit was filed, and at the date of this Notice

remains, a resident of Minnesota for purposes of diversity jurisdiction.

          8.     Accordingly, there is now, and was at the time this action was filed, complete

diversity of citizenship between Plaintiff and Defendants.

                 B.       The Amount in Controversy exceeds $75,000.

          9.     If it is facially apparent that Plaintiff’s claims in this suit exceed $75,000,

exclusive of interest, costs, and attorneys’ fees, Defendants’ burden to establish that the amount




1
    Clint Clements (Plaintiff) is the owner of the property at issue in this insurance dispute. Although complete
    diversity exists between Clint Clements and Defendants, Defendants also note that Verdun Properties, LLC is a
    Texas limited liability company. The citizenship of a limited liability company is determined by the citizenship
    of all its members. Harvey v. Grey Wolf Drilling Co., 542 F.3d 1077, 1079 (5th Cir. 2008). Both members of
    Verdun Properties, LLC, Sean Verdun and Shannon Verdun, are Texas residents. Thus, there is also complete
    diversity of citizenship between Verdun Properties, LLC and Defendants.


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in controversy exceeds this Court’s jurisdictional threshold is satisfied. 2

        10.      Here, Plaintiff’s First Amended Original Petition states that Plaintiff seeks

monetary relief between $200,000 and $1,000,000 in this action. 3 It is thus facially apparent that

Plaintiff’s claims exceed this Court’s jurisdictional threshold of $75,000.

                 C.       Removal is proper.

        11.      Because there is complete diversity between the parties and the amount in

controversy exceeds $75,000 (excluding interest, costs, and attorneys’ fees), removal is proper

under 28 U.S.C. § 1332(a).

                                           III.     CONCLUSION
        12.      Pursuant to 28 U.S.C. § 1446(d), a true and correct copy of this Notice will be

filed with the clerk of the District Clerk of Denton County, Texas after the filing of this Notice.

        13.      As required by 28 U.S.C. § 1446(a), and Local Rule CV-81, a copy of each of the

following are attached to (or filed with) this Notice:

                 a.       a list of parties in the case and their party type;

                 b.       a civil cover sheet and certified copy of the state court docket sheet; a

         copy of all pleadings that assert causes of action; all answers to such pleadings and a

         copy of all process and orders served upon the party removing the case to this court as

         required by 28 U.S.C. § 1446(a);

                 c.       a complete list of attorneys involved in the action being removed,

         including each attorney’s bar number, address, telephone number, and party or parties

         represented by him/her;



2
    Allen v. R & H Oil & Gas Co., 63 F.3d 1326, 1335 (5th Cir. 1999).
3
    See Plaintiff’s First Amended Original Petition at page 1.


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                d.       a record of which parties have requested trial by jury; and

                e.       the name and address of the court from which the case is being removed;

        14.     Pursuant to 28 U.S.C. § 1446(d), written notice of filing of this Notice will be

given to all adverse parties promptly after the filing of this Notice.

        15.     For the foregoing reasons, Defendants hereby provide notice that this action is

duly removed.




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                                           Respectfully submitted,


                                           By:       /s/ James W. Holbrook, III
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                                           ATTORNEYS FOR DEFENDANTS

                                CERTIFICATE OF SERVICE

        This is to certify that a true and correct copy of the foregoing Notice of Removal has

been served this 13th day of September, 2016, in accordance with the FEDERAL RULES OF CIVIL

PROCEDURE as follows:

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        ATTORNEY FOR PLAINTIFF


                                                          /s/ James W. Holbrook, III
                                                       James W. Holbrook, III




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